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                       Exhibit L
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                                           March 4, 2019


 VIA EMAIL
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         Re:        Alejandro Menocal v. The GEO Group, Inc. - Case No. 2014CV02887

 Dear Juno and Elizabeth,

        I write on behalf of The Geo Group, Inc. (“GEO”) to respond to your letter of February
 15, 2019 and other recent correspondence.

                                               ICE Review

         Your February 15 letter first asks to “meet and confer” as to the legal basis for GEO’s
 belief that it cannot produce certain documents without ICE’s review and/or approval, and the
 specific identification of documents GEO has withheld as a result of the belief. Letter at p. 1.
 While you are correct that the Parties negotiated a Protective Order that has mitigated some of
 the need for ICE review prior to production, certain categories of documents – in particular,
 documents that may contain “Covered Information” – were carved out of the Protective Order
 with the agreement that such documents would be addressed on a case by case basis. See Joint
 Status Report and Motion for Entry of Proposed Amended Stipulated Protective Order (“Joint
 Status Report”) at ¶ B(2). Further, prior to the filing of the Protective Order and accompanying
 Joint Status Report, there was extensive back and forth regarding this precise issue. Ultimately,
 the following language was included in the Joint Status Report:

         Additionally, the parties recognize that nothing in the Proposed Amended
         Protective Order prohibits the Government from reviewing documents prior to
         disclosure in discovery. Plaintiffs reserve the right to oppose any such review.

 (Id.). While Plaintiffs have reserved the right to object to such review, GEO has made its
 position clear throughout these discussions that certain documents need ICE review and approval
 prior to production. By way of example, you point to VWP reimbursement records maintained
 by Keefe Commissary as documents that GEO should be able to produce without ICE review.
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 The issue with those records, however, is that they contain detainees’ names. While it is likely
 that ICE will approve their production quickly (as it did with respect to the class list, which also
 contains detainee names), GEO cannot produce those documents without prior ICE approval.

        With respect to your request that GEO identify the “specific documents that [we] believe
 require ICE review” (Letter at p. 1), this is where the carve out from the Protective Order for
 “Covered Information” becomes significant. Notwithstanding Judge Kane’s Order, some of the
 information that Plaintiffs seek through discovery in this litigation is still controlled by ICE and,
 accordingly, is subject to disclosure pursuant to the U.S. Department of Homeland Security’s
 (“DHS”) “Touhy” regulations, 6 C.F.R. §§ 5.41 et seq. The entire point of working with ICE and
 the U.S. Department of Justice (“DOJ”) on the Protective Order was to try to facilitate a process
 whereby GEO could meet its discovery obligations with minimal disruption while complying
 with DHS’s Touhy regulations.

         Moreover, GEO’s understanding of the categories of documents that may be subject to
 ICE review in this case is based on ICE’s position in related litigation where ICE has also
 reviewed and provided input regarding the protective order in place.1 Additionally, as you know,
 in this case, ICE and DOJ have communicated the Government’s position that ICE needs to
 review and redact data that may contain information that is subject to certain statutory and
 regulatory disclosure restrictions (“Covered Information”) prior to its production. The
 Government has based this position on its conclusion that the following federal statutes and
 regulations “prohibit disclosure of records that may be the subject of discovery” and contain
 Covered Information:

              •   8 U.S.C. § 1367(a)(2), which prohibits disclosure of any information which
                  relates to an alien who is the beneficiary of an application for relief, whether
                  pending or approved, under the Violence Against Women Act;

              •   8 U.S.C. § 1367(a)(2), which prohibits disclosure of any information which
                  relates to an alien who is the beneficiary of an application for a T Visa,
                  concerning trafficking victims;

              •   8 U.S.C. § 1367(a)(2), which prohibits disclosure of any information which
                  relates to an alien who is the beneficiary of an application for a U Visa,
                  concerning victims of crimes;

              •   8 U.S.C. § 1255a(c)(5), which prohibits disclosure of information relating to
                  Legalization/Special Agricultural Worker claims; and

              •   8 C.F.R. § 208.6, which prohibits disclosure of information contained in or
                  pertaining to an asylum or refugee application, information pertaining to a
                  credible fear determination pursuant to 8 C.F.R. § 208.30, and information
                  pertaining to a reasonable fear determination pursuant to 8 C.F.R. § 208.31.

 1
   It is GEO’s hope that, here, because of ICE and DOJ’s involvement in the Protective Order in this case, they might
 further relax their need to review certain categories of documents that might contain ICE information.
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 The Government has also advised that the “consequences for unauthorized disclosure of these
 categories of records include criminal and civil penalties.” For your convenience, we have
 attached the August 21, 2018 letter from the DOJ, which notably was issued after Judge Kane’s
 decision regarding Touhy, and which makes clear the DOJ’s position that Touhy still applies to
 GEO, notwithstanding Judge Kane’s order.

         Based upon the guidance previously provided by ICE and DOJ in a related case, GEO has
 identified the following categories of data that likely will require ICE review before they may be
 disclosed to Plaintiffs in this case:

            •    Documents marked “For Official Use Only,” “FOUO,” “Law Enforcement Use
                 Only,” or with similar text;

            •    ICE audits and inspections;

            •    Communications with ICE;

            •    Invoices submitted to ICE;

            •    Non-public ICE policies or procedures;

            •    Information related to applications submitted pursuant to the Violence Against
                 Women Act;

            •    T Visa/U Visa information;

            •    Information related to Seasonal Agricultural Worker claims;

            •    Information related to asylum/refugee claims;

            •    Personally identifiable information of detainees (including names and A-
                 numbers); and

            •    Personally identifiable information of ICE officials.

         As to the pace of discovery, GEO has made two supplemental productions thus far (and a
 third if you count the class list), and anticipates producing an additional group of documents
 shortly. GEO also is preparing to produce the Keefe documents, discussed above, as soon as it
 gets approval from ICE to do so. The parties’ recent meet and confer correspondence –
 including some of the clarification made in your February 15, 2019 letter – have further focused
 areas for supplemental production. We also had a call on February 7, 2019 regarding ESI and
 received a follow-up email from you on Friday, March 1, 2019. Moreover, as discussed during
 our January 15, 2019 meet and confer, and in our January 28, 2019 letter, part of GEO’s
 supplementation is tied to finalizing a new set of search terms, which, as you know, is still a
 work in progress. In your March 1 email, you note that you are still reviewing the search terms
 we provided. GEO looks forward to discussing your feedback when your review is complete.
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        Plaintiffs’ First and Second Set of Requests for Production of Documents

        Request Nos. 1–3

        As to the VWP reimbursement documents and the need for ICE approval prior to
 production, please see the discussion above.

         As to your question about whether GEO tracks the hours worked by class members, as
 stated in GEO’s Responses and Objections to Plaintiffs’ Third Set of Interrogatories served on
 February 6, 2019, GEO does not track the actual hours worked by class members. See Resp. to
 Interrogatory No. 17.

        Request Nos. 5–7 (and related Interrogatory Nos. 5 & 6)

         With respect to your reference to emails that may have been sent to or from Dawn Ceja,
 the warden and/or the chief of security at the Aurora Facility on the topic of disciplinary charges,
 GEO expects that this would be covered through the new search terms discussed in the prior
 meet and confer correspondence. As to disciplinary records contained in the detainee files, as
 has been previously explained, there is a significant burden attendant to review and production of
 those files. That being said, GEO is willing to meet and confer on this issue as you propose in
 your letter.

        Request No. 8

          GEO has asked ICE to clarify the extent to which it has class list information for the
 2004 to 2006 time period that would be the same as (or similar to) the class list information
 already produced. To date, GEO has not received a substantive response from ICE. However,
 GEO remains hopeful that ICE will be able to provide the requested information, which would
 resolve this issue. Alternatively, some class list information potentially could be extracted from
 detainee files, but this would be an extremely burdensome exercise, and would be unlikely to
 provide information that is anywhere near as robust as the information that was extracted
 electronically for the 2007 to 2014 time-period. Moreover, given that this request seeks
 information from 12 to 15 years ago, any contact information that could potentially be derived
 from such files is almost certainly stale. As to your threat to file a motion to compel on this
 issue, GEO cannot provide what it does not have, nor is it proportional to the needs of the case to
 insist on manually extracting what is almost certainly stale information from the detainee files.

        Request No. 12

        You have agreed to limit this Request to:

        [A]ll documents summarizing, constituting, or reflecting any contract and/or
        agreement you executed to purchase labor for services for which GEO either used
        or considered using detainee labor, including but not limited to cleaning,
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         housekeeping, laundry, landscaping, kitchen and snow removal services at the
         Aurora Facility between October 22, 2004 and the present.

 Based on this clarification, we understand that you are now seeking only agreements between
 GEO and third-parties relating to the Aurora facility for services where GEO has actually used or
 considered using detainee labor for the same services. Given that the VWP class starts in 2012,
 not 2004, we think the request for all such contracts dating back to 2004 – including for things
 such as housekeeping, laundry, landscaping, kitchen and snow removal – is overly broad, not
 proportional and far afield of the scope of the certified claims. Similarly, the extension of the
 time- period to the present is also overly broad and not proportional, given that both classes end
 in 2014. That being said, GEO appreciates your effort to narrow this Request and will, subject to
 the Protective Order, produce copies of contracts for cleaning services, if any, for the time period
 from October 22, 2004 through October 22, 2014. Similarly, GEO will produce copies of
 contracts with housekeeping, laundry and kitchen services for the time period from October 22,
 2012 through October 22, 2014.2 Based on its reasonable investigation to date, GEO does not
 believe that it has used or considered using detainee labor for snow removal or landscaping
 services.

         Request Nos. 17–21

         While you state your position that these Requests encompass video footage, we disagree
 that they could be fairly read to include such footage. Merely including a stock lengthy list in
 the definition of documents does not transform these Requests into ones for video footage.
 Indeed, Request Nos. 20 and 21 refer to “records of hours” and “hours spent by Plaintiffs
 performing such work,” respectively. A reasonable reading of those Requests does not
 contemplate the production of video footage, which likely would not even capture all of the
 hours spent working by any individual detainee and thus cannot fairly be construed to be a
 “record of hours.”

         That being said, GEO can confirm that it does not have responsive video footage. GEO’s
 CCTV system has a fixed amount of memory and once it reaches its capacity, it overwrites the
 oldest recorded footage. Generally, the capacity is such that it overwrites about every 30 days.
 Moreover, the preservation of such video is extremely burdensome and cannot be justified as
 proportional to the needs of the case, given the lack of relevance of the content to the claims and
 defenses at issue here.

         Request Nos. 32 & 33

        You state that it is your position that disclosure of the wages required under the Service
 Contract Act constitutes an incomplete response to these Requests, but note that you are willing
 to meet and confer to narrow the scope of documents requested. GEO agrees it makes sense to
 meet and confer regarding your position on these Requests.


 2
   GEO anticipates that these contracts would be between GEO and third parties, and would thus not constitute the
 type of “Official Information” that requires ICE review. However, GEO reserves all rights regarding its need to
 follow applicable regulations if they are implicated by these documents.
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                       Plaintiffs’ First and Second Sets of Interrogatories

         Interrogatory Nos. 3 & 4

         You asked for clarification that the employee roster produced at GEO_MEN_00020548:
 “(1) reflects everyone who supervised class members working in the VWP and pursuant to the
 Housing Unit Sanitation Policy throughout the class period, and (2) includes only employees
 who supervised class members working in the VWP and pursuant to the Housing Unit Sanitation
 Policy.”

          The referenced roster contains all of the GEO employees at the Aurora Detention
 Facility during the class periods. In addition, the roster contains each employee’s date of hire
 and termination date. Further, it remains GEO’s position that all detention officers are assigned
 to supervise VWP participants or detainees performing HUSP tasks because a detention officer
 on shift at a location that has VWP participants or detainees performing HUSP tasks is
 responsible for the safety and security of all the detainees at that location. Thus, all detention
 officers assigned to the Aurora Detention Facility during the class periods are responsive to these
 Interrogatories. Plaintiffs can extract the detention officers working at the Aurora Detention
 Facility during the class periods from this roster. GEO trusts that this clarification answers your
 questions and confirms that GEO has fully responded to these Interrogatories.

        Interrogatory No. 8

         You insist that GEO policies from other facilities related to disciplinary or corrective
 action under the HUSP are “relevant to whether GEO’s conduct at the Aurora Facility was
 purportedly authorized or required by ICE, and to whether GEO’s conduct at the Aurora facility
 was unjust” and ask GEO to amend its response to this Interrogatory. GEO does not see the
 connection between the policies at other facilities and what happened (or did not happen) at
 Aurora. It therefore remains GEO’s position that policies from other facilities are not relevant to
 this case. Moreover, even if these policies were relevant (which they are not), GEO objects to
 this request for other facility information as not proportional to the needs of this case.
 Accordingly, GEO declines to amend its response to this Interrogatory.

        Interrogatory No. 16

        You reiterated that it is Plaintiffs’ position that calculating the fair-market value of Class
 Members’ work requires consideration of the cost to GEO of employee leave, fringe benefits,
 and other costs attendant to recruiting, screening, hiring, and retention of workers. Like the
 response under RFP 32 and 33 above, GEO is willing to meet and confer to discuss why you
 believe the information provided thus far is not adequate.

                                               Other Matters

        We also wanted to follow up regarding the questions you posed in your December 6,
 2018 email regarding the produced class list data, which GEO obtained from ICE. Because GEO
 could not answer Plaintiffs’ questions about the ICE information, we posed the questions directly
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 to ICE. On Friday, March 1, we finally received a response from ICE to our inquiry. We have
 restated your questions and have included ICE’S responses below.

        •   Question (2): Please provide us with a key to the spreadsheet that explains the
            meaning of the column labels, as well as the values within those labels. For example,
            what is the meaning of “domicile,” “home,” “permanent residence,” etc. in the
            “Address Type” column?

            Response: The labels in the Address Type column have no significant meaning.
            Rather, the case Officer at the time of case creation randomly picks a label that may
            correlate to where the subject is currently residing at the time of entry. The Officer
            may also just select the first drop down descriptor they see.

        •   Question (3): We understand that the class member contact information comes from
            ICE and reflects the address ICE obtained from the class member at each contact
            point. From our review, it appears that much or all of this data was exported from the
            ICE Ident-Enforce database. Can you confirm? If yes, our understanding is that that
            database records when particular information was added to the database, which would
            enable us to determine what information was provided most recently. Can you add
            that information to the spreadsheet?

            Response: ICE Ident is a fingerprint database. Enforce is no longer used and ICE has
            switched over to EAGLE for case or encounter creations which then reflects in
            EARM. STU can only provide what information is put in the database by the Officer.
            The entry date for addresses is not a mandatory field, STU can pull all addresses but
            not the actual date it was entered.

        •   Question (4): What information sources or databases did ICE search to obtain the
            information in the spreadsheet? Does the information come only from ICE-controlled
            sources, or was ICE able to access other government agencies’ databases or source
            information? Please identify each source individually, and note any databases or
            sources of information that reside outside of ICE.

            Response: STU pulls the supporting data from the ICE Integrated Decision Support
            database (IIDS). Any case information created by an Officer will be stored and or
            reported to this database for extraction. The information came from an ICE database.

        •   Question (6): The spreadsheet contains columns for the name and contact information
            of the class members’ immigration attorneys, but none of those cells contain any
            information. Please provide that information where available, as it may facilitate the
            notice process.

            Response: The information where available has been provided. This is not a
            mandatory field and is not always filled in or completed.
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         Thank you for your consideration. We trust that this responds to the questions in your
 letter. As always, GEO is available to discuss any questions or concerns you have about the
 contents of this letter.

                                            Very truly yours,




 NGB/ck
 Enclosure
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